
654 S.E.2d 705 (2007)
STATE of North Carolina
v.
Vic MACON.
No. 214P02-2.
Supreme Court of North Carolina.
November 8, 2007.
Vic Macon, Pro Se.
Robert Montgomery, Senior Deputy Attorney General, Thomas J. Keith, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 10th day of October 2007 in this matter for a writ of certiorari to review the order of the Superior Court, Forsyth County, the following order was entered and is hereby certified to the Superior Court of that County:
"Dismissed by order of the Court in conference, this the 8th day of November 2007."
